





THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(1), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
        The State of South Carolina, Respondent,
      
    
  

v.

  
    
      
        Iceen Jamel Porcher, Appellant.
      
    
  


Appeal From Greenville County
&nbsp;Charles B. Simmons, Jr., Circuit Court Judge

Unpublished Opinion No. 2005-UP-399
Submitted June 1, 2005  Filed June 23, 2005

APPEAL DISMISSED


  
    
      
        Assistant Appellate Defender Robert M. Dudek, of Columbia, for Appellant.
        Attorney General Henry D. McMaster, Chief Deputy Attorney General John W. McIntosh, and Assistant Deputy Attorney General Salley W. Elliott, all of Columbia; and Solicitor Robert M. Ariail, of Greenville, for Respondent.
      
    
  

PER CURIAM: Iceen Jamel Porcher appeals from his guilty pleas to assault and battery with intent to kill, grand larceny, resisting arrest with a deadly weapon, and possession of a weapon during the commission of a violent crime, arguing the trial judge failed to adequately inform him of the constitutional rights he waived by entering a guilty plea.&nbsp; Porchers counsel attached to the final brief a petition to be relieved as counsel, stating he had reviewed the record and concluded this appeal lacks merit.&nbsp; After a thorough review of the record and counsels brief pursuant to Anders v. California, 386 U.S. 738 (1967) and State v. Williams, 305 S.C. 116, 406 S.E.2d 357 (1991), we dismiss[1] the appeal and grant counsels petition to be relieved.
APPEAL DISMISSED.
HEARN, C.J., and BEATTY and SHORT, JJ., concur.

[1] We decide this case without oral argument pursuant to Rule 215, SCACR.

